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Attorneys for Plaintiff
TERESA MCCLINTOCK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

TERESA MCCLINTOCK, Case No.:
Plaintiff, COMPLAINT AND DEMAND FOR
JURY TRIAL
Vv.
(Unlawful Debt Collection Practices)
PENNCRO ASSOCIATES, INC.,
Defendant.

 

 

 

COMPLAINT
TERESA MCCLINTOCK (“Plaintiff”), by her attorneys, KIMMEL &
SILVERMAN, P.C., alleges the following against PENNCRO ASSOCIATES,
INC., (“Defendant”):
INTRODUCTION
1, Count I of Plaintiff's Complaint is based on the Fair Debt Collection
Practices Act, /5 U.S.C. 1692 et seg. (FDCPA).

JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to /5 U.S.C. 1692k(d), which
states that such actions may be brought and heard before “any appropriate
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PLAINTIFF’S COMPLAINT

 
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United States district court without regard to the amount in controversy,” and
28 U.S.C. 1367 grants this court supplemental jurisdiction over the state claims

contained therein.

3. Defendant conducts business and has an office in the state of

Pennsylvania and therefore, personal jurisdiction is established.

4. Venue is proper pursuant to 28 U.S.C. 1391(b) (1).

5. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202,

PARTIES

6. Plaintiff is a natural person residing at 230 Rossitter Street

Shreveport, Louisiana.

7. Plaintiff is a “consumer” as that term is defined by /5 USC.
1692a(3).

8. Defendant is a national debt collection company with corporate

headquarters located at P.O. Box 1878, Southampton, PA 18966.

9. Defendant is a debt collector as that term is defined by /5 USC

1692a(6), and sought to collect a consumer debt from Plaintiff.

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PLAINTIFF’S COMPLAINT

 
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10. Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

FACTUAL ALLEGATIONS
11. -Defendant and others it retained began in October of 2008 through
the present to constantly and continuously place harassing and abusive
collection calls to Plaintiff seeking and demanding payment for an alleged

consumer debt.

12. Defendant and others it retained placed calls to Plaintiff's home

telephone.

13. Defendant places calls to Plaintiff from the telephone numbers 800-
678-1826 and 800-284-5232 (ext 2692) and others.

14. Defendant identified the case number being called about as

“244337”,

15. Plaintiff has demanded that calls stop immediately but her

instructions were disregarded by Defendant and others it retained.

16. Defendant refused/refuses to heed Plaintiffs instructions and

continues/continued calling Plaintiff from October 2008 through at least April

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PLAINTIFF'S COMPLAINT

 
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2009,
17. Defendant has called and hung up on Plaintiff as well.

18. Persons who identified themselves during calls include: “Shania
Parker”; “Ryan”; “Darnell Bolling” and “Erica Clanton”. Upon information

and belief, some or all of these names are assumed.

19. Defendant and others it retained, often called/call more than five

times a day.

20. Repetitive calls to Plaintiff are/where disturbing, harassing, an
invasion of privacy and made Plaintiff feel wary about answering the telephone

for any number she did not recognize.

COUNT I

DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES

ACT

21. Defendant violated the FDCPA based on the following:

a. Defendant violated $1692 generally.

b. Defendant violated $/692d(5) and of the FDCPA by causing a
telephone to ring and engaging Plaintiffs in telephone conversations
repeatedly and continuously with the intent to annoy, abuse, and
harass Plaintiff.

c. Defendant violated $/692d(6) and of the FDCPA by placing

telephone calls and leaving messages from a person who did not in

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PLAINTIFF’S COMPLAINT

 
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fact exist and therefore in a manner that Defendant had not
meaningfully disclosed the callers identity by design and/or plan.
22. As adirect and proximate result of one or more or all of the statutory

violations above Plaintiff has suffered emotional distress (see Exhibit B).

WHEREFORE, Plaintiff, TERESA MCCLINTOCK, respectfully requests
judgment be entered against Defendant, PENNCRO ASSOCIATES, INC., for

the following:

23. Declaratory judgment that Defendant’s conduct violated the Fair Debt

Collection Practices Act,

24, Statutory damages pursuant to the Fair Debt Collection Practices Act,
15 US.C. 1692k,

25. Actual damages,

26. Costs and reasonable attorneys’ fees pursuant to the Fair Debt

Collection Practices Act, /5 U.S.C. 1692k
27. Any other relief that this Honorable Court deems appropriate.

DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff, TERESA MCCLINTOCK,

demands a jury trial in this case.

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PLAINTIFF’S COMPLAINT

 
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DATED:
2009

RESPECTFULLY SUBMITTED,
November 13, KIMMEL & SILVERMAN, P.C..

By: /s/ Craig Thor Kimmel

Craig Thor Kimmel, Esquire
Attorney for Plaintiff

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“PLAINTIFF’S COMPLAINT

 

 
